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    Case 1:22-cr-00031-TSK-MJA   2:58:16 4PM Filed
                                                PAGE    3/007
                                                   04/26/22 PageFax
                                                                 1 of Server
                                                                      3 PageID #: 4



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                           UNITED STATES DISTRICT COURT FOR THE                            APR 26 2022
                            NORTHERN DISTRICT OF WEST V[RGINIA                      us. DISTRICT COURTWVND
                                                                                      CLARKSBURG WV 26301
        UNITED STATES OF AMERICA,

        y.                                               Criminal No. /.~ ~ 3/

        BRADLEY GLASJ’ELL,                                Violation:       :18 U.S.C. § 1343

                     Defendant.


                                             INFORMATION

     The United States Attorney charges that:

                                                 COUNT ONE

                                                 (Wire Fraud)

             1.     At all times relevant to this .lnfoniiation, defendant BRADLEY GLASPELL,

     owned and operated Over the Top Roofing, LLC, and Helping Hands Home Improvement, in

     Rivesville, West Virginia.

             2.     At all times relevant to this Information, defendant BRADLEY GLASPELL,

     purported to customers of Over the Top Roofing, LLC, and Helping Hands Home Improvement,

     that the businesses were licensed to conduct home improvement contracting work.

             3.     At all times relevant to this Information, defendant BRADLEY GLASPELL,

     resided in Salem, West Virginia.

             4.     Beginning at least in or around June 2019, and continuing until in or around August

     2021, defendant BRADLEY GLASPELL, devised a scheme and artifice to defraud home

     improvement customers by obtaining approximately $542,000, by means of false and fraudulent

     pretenses, representations, and promises.
USAO_Fax                          2:58:16 4PM Filed
                        4/26/2022Document
    Case 1:22-cr-00031-TSK-MJA                   PAGE    4/007
                                                    04/26/22 PageFax
                                                                  2 of Server
                                                                       3 PageID #: 5




             5.      It was a part of the scheme and artifice that the defendant would have victims sign

     an agreed proposal for contracting home improvement work to be completed by Over the Top

     Roofing, LLC, or Helping Hands Improvement.

             6.      It was a further part of the scheme and artifice that the defendant would have

     victims pay a down payment of cash or check for materials and supplies before he commenced

     any home improvement work.

             7.      It was a further part of the scheme and artifice that the defendant would deposit the

     down payments into his personal and business bank accounts held at financial institutions in the

     Northern District of West Virginia.

             8.      it was a further part of the scheme and artifice that the defendant, after accepting

     and depositing the down payments, would fail to return to the victims’ residences to commence

     home improvement work, or would commence a minimal amount of work and then never return.

             9.      It was a further part of the scheme and artifice that the defendant would deposit the

     down payments into his financial accounts and then withdraw the down payments in cash, instead

     of applying those payments to business-related expenses.

             10.     It was a further part of the scheme and artifice that the defendant would deposit the

     down payments into his financial accounts and use those payments for personal lifestyle expenses

     at retail stores, gas stations, and restaurants, instead of business-related expenses.

             11.    It was a further part of the scheme and artifice that the defendant would

     misrepresent and conceal material facts that, during the time victims signed contracts with him, he

     and his businesses were the subject of several Cease and Desist Orders by the West Virginia

     Contractor Licensing Board for engaging in contracting work without a valid license.
USAO_Fax               4/26/2022 Document
    Case 1:22-cr-00031-TSK-MJA    2:58:16 4PM Filed
                                                 PAGE    5/007PageFax
                                                    04/26/22       3 of Server
                                                                        3 PageID #: 6




             12.    It was a further part of the scheme and artifice that the defendant would

     misrepresent and lie to victims regarding the reasons he failed to commence or failed to finish

     home improvement work.

             13.    It was a further part of the scheme and artifice that the defendant would falsely

     promise to refund payments to victims who complained about home improvement work not

     commencing or remaining unfinished.

             14.    On or about August 10, 2021, in Marion County, in the Northern District of West

     Virginia, and elsewhere, for the purpose of executing such scheme and artifice, defendant

     BRADLEY GLASPELL, did knowingly cause to be transmitted by means of a wire

     communication in interstate commerce, writings, signs, signals, pictures, and sounds, that is, the

     defendant sent a message to K.H. containing a material misstatement regarding a refund for home

     improvement work not commenced using Facebook Messenger, which traveled from a computer

     server located in the Northern District of West Virginia, to a computer server located outside the

     State of West Virginia; in violation of Title 18, United States Code, Section 1343.



                                                            JLJ L~2J~
                                                          WILLIA IH ENF LD
                                                          United States Attorney

                                                          Danaë DeMasi-Lemon
                                                          Assistant United States Attorney
